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                                                                               USDC SDNY
UNITED STATES DISTRICT COURT                                                   DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                  ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                                      DOC #: _________________
                                                                               DATE FILED: 7/14/2023

                  -against-

                                                                                          20 Cr. 412-4 (AT)
TIMOTHY SHEA,
                                                                                               ORDER
                       Defendant.
ANALISA TORRES, District Judge:

         On April 21, 2021, Defendant, Timothy Shea, was charged in a superseding indictment

(the “Indictment”) with: (1) conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349

(“Count One”); (2) conspiracy to commit money laundering in violation of 18 U.S.C.

§ 1956(h) (“Count Two”); and (3) falsifying records with the intent to impede, obstruct, and

influence an investigation by the Government in violation of 18 U.S.C. §§ 1519 and 2 (“Count

Three”). Indictment, ECF No. 179. After the Court declared a mistrial on June 7, 2022, Dkt.

Entry 6/7/2022, a second trial commenced on October 24, 2022, Dkt. Entry 10/24/2022. On

October 28, 2022, a jury found Defendant guilty on all three counts. Dkt. Entry 10/28/2022.

         Before the Court is Defendant’s motion to vacate the verdict on Count Two and

dismiss that count and for a new trial on Counts One and Three. ECF No. 404. For the

reasons stated below, Defendant’s motion is DENIED.

                                                BACKGROUND 1

         Count Two of the Indictment states, in part:

         It was a part and an object of the conspiracy that . . . [D]efendant, and others known
         and unknown, in an offense involving interstate and foreign commerce, knowing
         that the property involved in certain financial transactions, to wit, wire transfers
         and checks, represented the proceeds of some form of unlawful activity, would and
         did conduct and attempt to conduct such financial transactions, which in fact

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 The Court presumes familiarity with the facts, which have been set forth in previous orders in this case, see, e.g.,
ECF No. 357 at 1–4, and only includes the facts relevant to this order.
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       involved the proceeds of specified unlawful activity, to wit, the conspiracy to
       commit wire fraud alleged in Count One of this Indictment, knowing that the
       transactions were designed in whole and in part to conceal and disguise the nature,
       the location, the source, the ownership, and the control, of the proceeds of the
       specified unlawful activity[.]

Indictment ¶ 5 (emphasis added). Defendant did not file a pre-trial motion to dismiss Count Two

as defective.

       Before the first trial, the parties submitted proposed jury instructions in a joint filing.

ECF No. 165. As to the object of the Count Two money laundering conspiracy, the jointly

proposed jury charge included the following instruction:

       The term “specified unlawful activity” means any one of a variety of offenses
       described in the statute. In this case, the Government has alleged that the money
       involved in financial transactions at issue in this case was derived from the wire
       fraud conspiracy charged in Count One of the Indictment. I instruct you, as a matter
       of law, that the charge in Count One meets the definition of “specified unlawful
       activity, but you must determine whether the funds involved in the financial
       transactions were the proceeds of that unlawful activity.”

Id. at 45. In their submission, neither party objected to the proposed instruction. Id.; see also id.

at 1 (explaining color-coded highlights for parties’ respective objections to certain proposed

instructions). On May 19, 2022, the Court emailed the parties a proposed jury charge that

contained the same instruction set forth above. Defendant did not object to the instruction. On

May 27, 2022, the Court sent the parties a revised proposed jury charge with the same

instruction. Again, Defendant did not object to the instruction.

       Prior to the second trial, the parties agreed to use the same set of jury instructions that had

been used for the first trial. Defendant did not object to giving those same instructions to the

jury. ECF No. 345 at 556:23–557:1. At the second trial, the Court instructed:

       The second element of concealment money laundering is that the financial
       transactions must involve the proceeds of specifie[d] unlawful activity . . . . The
       term “specified unlawful activity” means any one of a variety of offenses described
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        in the statute. In this case, the [G]overnment has alleged that the money involved
        in the financial transactions at issue in this case was derived from the wire fraud
        conspiracy charged in Count One of the [I]ndictment. I instruct you, as a matter of
        law, that the charge in Count One meets the definition of specified unlawful activity,
        but you must determine whether the funds involved in the financial transactions
        were the proceeds of that unlawful activity.

ECF No. 347 at 736:20–737:9 (emphasis added). On October 28, 2022, the jury found

Defendant guilty on all three counts. Dkt. Entry 10/28/2022.

        By letter dated June 11, 2023, the Government advised the Court of an error in the “jury

instructions that the parties . . . jointly requested . . . and that the Court delivered” at the trials.

ECF No. 398 at 1. Specifically, the jury instructions were incorrect because “specified unlawful

activity,” as defined under 18 U.S.C. §§ 1956(c)(7)(A) and 1961(1), does not include wire fraud

conspiracy, 19 U.S.C. § 1349, which is the charge in Count One. See ECF No. 398; see also 18

U.S.C. § 1956(c)(7)(A). The Indictment contains the same error. See Indictment ¶ 5.

        On June 28, 2023, Defendant moved (1) to vacate his conviction on Count Two and

dismiss the count, and (2) for a new trial on Counts One and Three. ECF No. 404. Defendant

argues that the conviction on Count Two should be vacated and the count dismissed because the

indictment fails to state an offense as to Count Two, and the instructions to the jury delivered by

the Court at trial compounded this error. ECF No. 406 at 6–9. Defendant also argues that he is

entitled to a new trial on Counts One and Three because of “prejudicial spillover” from the

evidence presented in support of Count Two at trial. Id. at 14.

                                             DISCUSSION

  I.        Legal Standard

        Federal Rule of Criminal Procedure 7(c)(1) requires, inter alia, that an indictment contain

a “plain, concise, and definite written statement of the essential facts constituting the offense

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charged[.]” Fed. R. Crim. P. 7(c)(1). An indictment satisfies Rule 7(c)(1) if it “first, contains the

elements of the offense charged and fairly informs a defendant of the charge against which he

must defend, and, second, enables him to plead an acquittal or conviction in bar of future

prosecutions for the same offense.” United States v. Stringer, 730 F.3d 120, 124 (2d Cir. 2013)

(quoting Hamling v. United States, 418 U.S. 87, 117 (1974)); see also United States v. Lee, 833

F.3d 56, 67–68 (2d Cir. 2016).

          To satisfy this standard, indictments “need do little more than . . . track the language of

the statute charged and state the [approximate] time and place . . . of the alleged crime.” United

States v. Vilar, 729 F.3d 62, 80 (2d Cir. 2013) (citation omitted). Indictments do not “have to

specify evidence or details of how the offense was committed.” United States v. Wey, No. 15 Cr.

611, 2017 WL 237651, at *5 (S.D.N.Y. Jan. 18, 2017) (citation omitted). When considering a

motion to dismiss an indictment, the Court must treat the indictment’s allegations as true. Id.

    II.      Application 2

             A. Indictment

          “The two elements of a money laundering conspiracy are [(1)] the existence of a

conspiracy and [(2)] that the defendant knowingly participated in it.” United States v. Wiseberg,

727 F. App’x 1, 5 (2d Cir. 2018) (summary order); see also, e.g., United States v. Garcia, 587

F.3d 509, 515 (2d Cir. 2009). A financial transaction involving the proceeds of specified




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  A motion to dismiss an indictment for failure to state an offense must be raised before trial, or it will be deemed
“untimely.” See Fed. R. Crim. P. 12(c)(3); United States v. O’Brien, 926 F.3d 57, 82–83 (2d Cir. 2019). If the
motion is untimely, a court may nonetheless consider the motion if the defendant shows “good cause” for his failure
to raise the issue prior to that deadline. Fed. R. Crim. P. 12(c)(3). Here, Defendant did not move to dismiss Count
Two for failure to state an offense until seven months after his conviction at trial. See ECF No. 404. But, the Court
does not reach the question of whether Defendant’s untimely motion can be excused by good cause, because, even
assuming good cause, Defendant’s challenge fails. See infra Section II.A.
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unlawful activity is an element of the underlying object of the conspiracy, but not an element of

the conspiracy itself. See United States v. Stavroulakis, 952 F.2d 686, 691 (2d Cir. 1992)

(rejecting the argument that “the particular specified unlawful activity is an essential element of

the crime” (emphasis omitted)); see also United States v. Neuman, 621 F. App’x 363, 365–66

(9th Cir. 2015) (“[A] defendant does not have to commit or be convicted of the underlying

substantive specified unlawful activity that generated the illegal proceeds to be guilty of a

conspiracy to commit money laundering.”). In Stavroulakis, the Second Circuit held that in a

money laundering conspiracy, the specified unlawful activity at issue is “ancillary,” and,

therefore, “it is not essential” that two money laundering co-conspirators “agree on the same

illegal activity.” 952 F.2d at 690–91.

       Here, the Indictment states that the object of the Count Two money laundering

conspiracy “involved the proceeds of specified unlawful activity, to wit, the conspiracy to

commit wire fraud alleged in Count One of th[e] Indictment,” Indictment ¶ 5, which is an

incorrect statement of the law because “specified unlawful activity,” as defined under 18 U.S.C.

§ 1956(c)(7)(A), does not include wire fraud conspiracy. But this error relates to an ancillary

issue and not an essential element of the conspiracy itself. Stavroulakis, 952 F.2d at 690–91. An

indictment need not specify details about how the offense was committed. See Wey, 2017 WL

237651, at *5; see also United States v. Agrawal, 726 F.3d 235, 261 (2d Cir. 2013) (“When the

indictment is . . . considered as a whole, the ‘to wit’ clause is properly understood to be

illustrative rather than definitional of the core of the criminality charged by the grand jury.”).

       Indeed, after removing this erroneous language, the Indictment “still states an offense.”

United States v. Post, 950 F. Supp. 2d 519, 532 (S.D.N.Y. 2013). On its face, the Indictment

contains all necessary elements of the money laundering conspiracy charge, “fairly informs
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[D]efendant of the charge against which he must defend,” and “enables [Defendant] to plead an

acquittal or conviction in bar of future prosecutions for the same offense.” Stringer, 730 F.3d at

124 (citation omitted). That is enough to satisfy the requirements of Rule 7(c)(1). Therefore,

“on its face, the Indictment need not be dismissed.” Post, 950 F. Supp. 2d at 532.

            B. Jury Instructions

        A party who proposes a jury instruction “waive[s] any objection” to it. United States v.

Caltabiano, 871 F.3d 210, 219 (2d Cir. 2017); see United States v. Giovanelli, 464 F.3d 346, 351

(2d Cir. 2006) (“[I]f a party invited the charge[,] . . . she has waived any right to appellate review

of the charge.” (cleaned up)). This “invited” error precludes even plain error review. See United

States v. O’Garro, 700 F. App’x 52, 53–54 (2d Cir. 2017) (summary order). This doctrine

applies equally where the parties jointly request a jury instruction. See United States v. Gill, 674

F. App’x 56, 58 (2d Cir. 2017) (summary order).

        Here, Defendant has waived any objection to the jury instructions because the parties

jointly submitted a proposed jury charge before the first and second trials, see Gill, 674 F. App’x

at 58, and Defendant did not object to the Court’s proposed jury charge at either trial. Having

jointly proposed the erroneous jury instruction, which the Court adopted at both trials, Defendant

has waived any challenge to it. 3




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 Because the Court rejects Defendant’s arguments that the conviction on Count Two should be vacated, the Court
shall not address Defendant’s request for a new trial on Counts One and Three.
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                                       CONCLUSION

       For the reasons stated above, Defendant’s motion is DENIED. The Clerk of Court is

directed to terminate the motion at ECF No. 404.

       SO ORDERED.

Dated: July 14, 2023
       New York, New York




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